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 5   APL Co. Pte Ltd and
     American President Lines, Ltd.
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   APL Co. Pte Ltd, a corporation, and               No. 2:15-CV-6638
     AMERICAN PRESIDENT LINES, LTD.,
12   a corporation,
                                                       COMPLAINT FOR
13               Plaintiffs,
                                                       1. BREACH OF MARITIME
14         v.                                             CONTRACT;
                                                       2. OPEN ACCOUNT;
15   AL-DAN TRADING, INC., a                           3. COMMON COUNT FOR
     corporation,                                         SERVICES PERFORMED
16
                 Defendant.
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21
           Plaintiffs APL Co. Pte Ltd and American President Lines, Ltd. (collectively
22
     “APL”) complain against defendant Al-Dan Trading, Inc. (“Al-Dan” or
23
     “Defendant”) and allege as follows:
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28

                                           COMPLAINT
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 1                                  JURISDICTION AND VENUE
 2            1.        The following claims are admiralty and maritime claims within the
 3   meaning of Rule 9(h) of the Federal Rules of Civil Procedure and fall within the
 4   admiralty jurisdiction of this Court under 28 U.S.C. section 1333.
 5            2.        Venue is proper in the Central District of California because the cargo
 6   that is the subject of the underlying service contract passed through the ports of
 7   Los Angeles, Long Beach, and/or San Pedro and said cargo was delivered and/or
 8   was to be delivered to Al-Dan in the city of Vernon, California, located in Los
 9   Angeles County.
10                                              PARTIES
11            3.        Plaintiff APL Co. Pte Ltd is, and all relevant times was, a corporation
12   duly organized and existing under the laws of Singapore, registered to do business
13   in the State of California.
14            4.        Plaintiff American President Lines, Ltd. is, and at all relevant times
15   was, a corporation duly organized and existing under the laws of the State of
16   Delaware, registered to do business in the State of California.
17            5.        APL is informed and believes, and on that basis alleges that defendant
18   Al-Dan Trading, Inc. is, and at all relevant times was, a corporation duly organized
19   and existing under the laws of the State of Florida, with an office in Vernon,
20   California.
21
22                                   GENERAL ALLEGATIONS
23            6.        At all relevant times, APL was and still is an ocean carrier of goods
24   for hire, inter alia, between U.S. and foreign ports.
25            7.        On or about May 6, 2009, APL and Al-Dan entered into a written
26   service contract, number EB09/0343, whereby APL agreed to transport and convey
27   various commodities from China, Hong Kong, and Indonesia into the United
28   States, on behalf of, and at the request of, Al-Dan.
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 1            8.        The service contract between APL and Al-Dan was “subject to the
 2   maritime law of the United States, including but not limited to the United States
 3   Shipping Act of 1984, as amended by the Ocean Shipping Reform Act of 1998.”
 4   Furthermore, “[t]o the extent the maritime law of the United States is silent on any
 5   given legal issue . . . the laws of the State of New York” shall govern the parties’
 6   relationship. New York State laws provide for a six year statute of limitations in
 7   which to bring an action for breach of a written contract.
 8            9.        As part of the service contract entered into between Al-Dan and APL
 9   for the transportation and carriage of Al-Dan’s cargo, Al-Dan expressly agreed to
10   tender its cargo in a quantity sufficient to satisfy a Minimum Volume Commitment
11   (“MVC”) as outlined in the service contract between the parties. Specifically, the
12   service contract stated:
13                      3. MINIMUM VOLUME COMMITMENT; DEAD
                        FREIGHT; BOOKING
14
                        (a) Merchant shall tender not less than the MVC,
15                      including specific sub-MVCs, if any as set forth in an
                        Appendix, during the term hereof. Shipments shall be
16                      deemed within the scope of this Contract and shall be
                        counted toward the MVC if made by Merchant’s parent,
17                      subsidiary, or other affiliated companies or entities under
                        common control, or by an authorized agent in behalf of
18                      any such entity, all of which entities must be identified
                        on the signature page or Appendix hereto. Merchant
19                      shall remain responsible to Carrier for all obligations of
                        non Merchant parties shipping cargo under this Contract.
20
21            10.       The MVC, set forth at Appendix A, expressly obligated Al-Dan to
22   tender a minimum quantity of carriage of 150 freight equivalent units (“FEU”)
23   before the contract’s expiration date. In addition, the service contract contained a
24   sub-minimum commitment during the period of December 1, 2009 through April
25   30, 2010 of 25 FEUs.
26            11.       The service contract between APL and Al-Dan contained a liquidated
27   damages provision (known in the trade as deadfreight) which provided protection
28   to APL in the event that Al-Dan failed to meet the MVC, as it had promised. The
                                                COMPLAINT
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 1   liquidated damages provision provided that:
 2                      3. MINIMUM VOLUME COMMITMENT; DEAD
                        FREIGHT; BOOKING
 3
                        ....
 4
                        (b) If Merchant fails to tender shipments in sufficient
 5                      quantity to meet Merchant’s undertakings as set forth in
                        the foregoing subparagraph 3(a), Merchant shall, within
 6                      30 calendar days of receipt of Carrier’s invoice, pay
                        deadfreight in the amount of $350 for each FEU by
 7                      which the MVC (or sub-MVCs, as the case might be)
                        exceeds the volume actually tendered. Such deadfreight
 8                      shall be the Carrier’s sole and exclusive remedy in the
                        event Merchant fails to meet its MVC obligations under
 9                      this Contract.
10            12.       After the service contract expired on April 30, 2011, APL reconciled
11   the contract to determine whether Al-Dan had fulfilled its MVC and sub-MVC,
12   and shipped the number of FEUs as promised.
13            13.       APL determined that during the contract’s term, Al-Dan only tendered
14   and shipped 32.625 FEUs towards its 150 FEU MVC. As for Al-Dan’s sub-
15   minimum MVC, Al-Dan only shipped 7.75 FEUs towards is sub-MVC of 25
16   FEUs. By only shipping 32.625 FEUs towards it MVC of 150 FEUs, Al-Dan came
17   up short by 117.375 FEUs. In turn, by only shipping 7.75 FEUs towards its 25
18   FEU sub-MVC, Al-Dan came up 17.25 FEUs short.
19            14.       Accordingly, under the terms of the contract, Al-Dan became
20   obligated to pay APL a liquidated damages charge (“deadfreight”) of $47,118.75.
21   ($350 for each FEU short of the MVC [$350 x 117.375 = $41,081.25 and $350 for
22   each FEU it was short of the sub-MVC [$350 x 17.25 = $6,037.50] for a total
23   deadfreight charge of $47,118.75 [$41,081.25 + $6,037.50]).
24            15.       On June 17, 2011, APL issued an invoice to Al-Dan for $47,118.75
25   and presented the invoice to Al-Dan for payment. According to the service
26   contract’s terms, Al-Dan had 30 days, or until July17, 2011, in which to pay the
27   invoice, or Al-Dan would be in breach of the service contract.
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 1            16.       Al-Dan failed to pay the invoice within 30 days. And, despite further
 2   demands by APL, Al-Dan has failed to pay the deadfreight owed to APL in
 3   connection with the above-described service contract and there is due and owing to
 4   APL, from Al-Dan, the amount of $47,118.75 in deadfreight charges, in
 5   connection with the above-described service contract.
 6
 7                                   FIRST CAUSE OF ACTION
 8                                  (Breach of Maritime Contract)
 9            17.       APL refers to, and by that reference incorporates as if fully set forth
10   herein, each and every allegation set forth in paragraphs 1 through 16, inclusive,
11   hereinabove.
12            18.       Pursuant to the terms of the service contract entered into between the
13   parties, Al-Dan expressly agreed that if it failed to tender the MVC and sub-MVC,
14   it would pay the deadfreight charges due and owing under the above-described
15   service contract.
16            19.       APL has performed or tendered performance of all of its obligations
17   under the service contract.
18            20.       Al-Dan materially breached the terms of the service contract entered
19   into between the parties by failing to tender the appropriate amount of FEUs under
20   its MVC and sub-MVC, and by failing to pay the deadfreight charges within 30
21   days of receiving APL’s invoice, as promised.
22            21.       As a direct and proximate cause of Al-Dan’s breach of the service
23   contract by failing to tender the appropriate amount of FEUs under its MVC and
24   sub-MVC, and by failing to pay the deadfreight charges, APL has suffered
25   damages in the amount of $47,118.75 (excluding interest, costs and attorneys’
26   fees).
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                                                COMPLAINT
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 1                                  SECOND CAUSE OF ACTION
 2                                           (Open Account)
 3            22.       APL refers to, and by that reference incorporates as if fully set forth
 4   herein, each and every allegation set forth in paragraphs 1 through 21, inclusive,
 5   hereinabove.
 6            23.       Al-Dan owes APL the sum of $47,118.75 that is due with interest
 7   since July 2011, in accordance with the terms of the service contract more fully
 8   described above.
 9            24.       APL has made demand for payment upon Al-Dan and Al-Dan has
10   acknowledged receipt of said demand.
11            25.       Al-Dan has refused to pay and continues to refuse to pay the
12   outstanding sum due and owing.
13
14                                   THIRD CAUSE OF ACTION
15                              (Common Count - Services Performed)
16            26.       APL refers to, and by that reference incorporates as if fully set forth
17   herein, each and every allegation set forth in paragraphs 1 through 25, inclusive,
18   hereinabove.
19            27.       Al-Dan is indebted to APL for the amount of $47,118.75, for the
20   services APL contracted to perform at Al-Dan’s request.
21            28.       Al-Dan has failed to pay anything towards the deadfreight charge of
22   $47,118.75; therefore, APL is entitled to recover $47,118.75, excluding interest,
23   for services performed.
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 1                                    PRAYER FOR RELIEF
 2                      WHEREFORE, Plaintiffs APL Co. Pte Ltd and American President
 3   Lines, Ltd. pray as follows:
 4                      1.   The Court enter judgment in APL’s favor for $47,118.75, the
 5                           full amount of APL’s claim;
 6                      2.   The Court award APL prejudgment interest on all sums as
 7                           provided by law;
 8                      3.   The Court award APL its costs of suit;
 9                      4.   The Court award APL its attorneys’ fees as per the terms of the
10                           service contract;
11                      5.   The Court award APL such other and further relief as the Court
12                           may deem proper.
13
14   DATED: August 28, 2015
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                                                               LUCAS VALLEY LAW
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18                                               By:/s/ Mark K. de Langis
                                                               Mark K. de Langis
19                                                           Attorneys for Plaintiffs
                                                              APL CO. Pte Ltd and
20                                                       American President Lines, Ltd.
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